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EXHIBIT D
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
W.R. GRACE & CO., et al., ) Case No. 01-01139 (IKF)
) Gointly Administered)
Debtors. )
)

AFFIDAVIT OF DALE RASMUSSEN

STATE OF O ream )

) ss:

WMu/4nonach county)

Dale Rasmussen, being duly sworn, testifies as follows:

1. Iam an Associate General Counsel at PacifiCorp. I am generally familiar with
the facts of PacifiCorp's Motion and have personal knowledge of the facts herein. I submit this
Affidavit in support of PacifiCorp's Motion For Leave to File A Late Proof of Claim against the
Debtors.

2. PacifiCorp's policy for receipt of legal notices and service of process requires that
legal notices and services of process be sent to PacifiCorp's registered agent, CT. CT then sends
the documents to PaficiCorp's Office of General Counsel where a legal assistant logs the notices
and forwards them to the appropriate division of PacifiCorp.

3. PacifiCorp has conducted a search in departments, including the Office of General
Counsel and the Customer Service Division, where the Bar Date notice likely would have been
sent or received. However, PacifiCorp has not found a record showing that PacifiCorp had

notice or knowledge of the Bar Date Notice.
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4. PacifiCorp has regularly retained documents pertaining to the property on which
the Vermiculite Intermountain Facility operated. PacifiCorp has searched, but has not found a
record indicating that the PacifiCorp employees who were involved in the discovery and removal
of asbestos at the Vermiculite Intermountain Site had notice or knowledge of the Bar Date until
after it expired.

5. PacifiCorp's Motion is brought in good faith.

(xe
asmussen

Sworn to before me this
@"\ day of January, 2005

Meak 6 Lake)

Notary Public

OFFICIAL SEAL
DEBORAH B PARKER
NOTARY PUBLIC-ORE

COMMISSION
MY COMMISSICN SOONG S72

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